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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.2
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, May 29, 2020:


        MINUTE entry before the Honorable Gary Feinerman:The parties shall call the
Toll−Free Number: (877) 336−1828, Access Code: 4082461 for the 6/10/2020 hearing.
Please, please be sure to keep your phone on mute when you are not speaking.Mailed
notice.(jlj, )




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